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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 20-cv-61690-SINGHAL

DEBRON WALLEN,
SANJAY SHAKES, Individually and
On Behalf of All Others Similarly Situated,

Plaintiffs,

Vs.

SVENSK MANAGEMENT, INC. &
RICHARD FERNBACH
_________________________________/

                                PLAINTIFF’S STATEMENT OF CLAIM

              Plaintiffs, by and through undersigned counsel, file their Statement of Claim, in

   accordance with the order found at Docket Entry 5, as follows:

   Federal Time-And-A-Half Overtime Claim (3/20/18-12/01/18) for Sanjay Shakes:

   Amount of Time-And-A-Half Overtime per hour not compensated:

   $17.50/hour regular rate, Time -and-a-half: $26.25

   Weeks: 36.5

   Overtime hours per week: 6

   Total: $17.50 x 1.5 x 6 x 36.5 = $5,748.75

   Total wages unpaid and liquidated damages: $5,748.75 x 2 = $11,497.50, exclusive of

   attorneys’ fees and costs



   Federal Time-And-A-Half Overtime Claim (12/01/18-7/30/19) for Sanjay Shakes:

   Amount of Time-And-A-Half Overtime per hour not compensated:

   $17.50/hour, Time -and-a-half: $26.25

   Weeks: 34
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 Overtime hours per week: 27.5

 Total: $17.50 x 1.5 x 27 x 34 = $24,543.75

 Total wages unpaid and liquidated damages: $24,543.75 x 2 = $49,087.50, exclusive of

 attorneys’ fees and costs



 Federal Time-And-A-Half Overtime Claim (10/1/18-10/20/19) for Debron Wallen:

 Amount of Half-Time Overtime per hour not compensated: $17.50

 Time-and-a-half: $26.25

 Weeks: 54

 Overtime hours per week: 37.5

 Total: $17.50 x 1.5 x 37.5 x 54 = $53,156.25

 Total wages unpaid and liquidated damages: $53,662.50 x 2 = $107,325.00, exclusive of

 attorneys’ fees and costs



 COMBINED TOTAL FOR THE CASE, NOT INCLUDING FEES AND COSTS:

 $167,910.00

     Respectfully Submitted, this 8th Day of September 2020,

                                                LUBELL & ROSEN, LLC
                                                200 S. Andrews Ave, Suite 900
                                                Fort Lauderdale, Florida 33301
                                                Phone: (954) 880-9500
                                                Fax: (954) 755-2993
                                                E-mail:     jhs@lubellrosen.com

                                                By: s/Joshua H. Sheskin
                                                    Joshua H. Sheskin, Esquire
                                                    Florida Bar No. 93028




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